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          In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 15-313V
                                   Filed: September 9, 2016
                                        UNPUBLISHED
*********************************
KAREN RYF,                                        *
                                                  *
                          Petitioner,             *
v.                                                *
                                                  *        Attorneys’ Fees and Costs;
SECRETARY OF HEALTH                               *        Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                               *
                                                  *
                          Respondent.             *
                                                  *
****************************
Diana Sedar, Maglio, Christopher and Toale, PA (FL), Sarasota, FL, for petitioner.
Sarah Duncan, U.S. Department of Justice, Washington, DC for respondent.

                       DECISION ON ATTORNEYS’ FEES AND COSTS1

Dorsey, Chief Special Master:

       On March 26, 2015, Karen Ryf filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act” or “Program”). Petitioner alleged that she suffered injuries causally
related to the influenza vaccine she received in her left deltoid on October 29, 2013.
Petition, ¶¶ 1, 13. On April 19, 2016, the undersigned issued a decision awarding
compensation to petitioner based on respondent’s proffer to which petitioner agreed.
(ECF No 31).

      On September 8, 2016, petitioner filed an unopposed motion for attorneys’ fees
and costs. (ECF No. 36).3 Petitioner requests attorneys’ fees and costs in the amount
1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2006).

3   The motion was filed as an unopposed motion and indicates respondent has no objection.
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of $18,000.00, and petitioner’s out-of-pocket costs in the amount of $8.19 for a total
amount of $18,008.19. Id. at 1. In accordance with General Order #9, petitioner’s
counsel represents that petitioner incurred $8.19 in out-of-pocket expenses. Id.

       The Vaccine Act permits an award of reasonable attorneys’ fees and costs.
§ 15(e). Based on the reasonableness of petitioner’s request and the lack of opposition
from respondent, the undersigned GRANTS petitioner’s motion for attorneys’ fees and
costs.

        Accordingly, the undersigned awards the total of $18,008.194 as follows:

                A lump sum of $18,000.00, representing reimbursement for
                 attorneys’ fees and costs, in the form of a check payable jointly to
                 petitioner and petitioner’s counsel, Diana Sedar of Maglio,
                 Christopher & Toale PA; and

                A lump sum of $8.19, representing reimbursement for petitioner’s
                 costs, in the form of a check payable to petitioner.

Per petitioner’s request, the award for attorney’s fees and costs shall be forwarded to
Maglio Christopher & Toale, PA, 1605 Main Street, Suite 710, Sarasota Florida 34236
which is the address of record for petitioner’s counsel. Id. at 2.

        The clerk of the court shall enter judgment in accordance herewith.5

IT IS SO ORDERED.

                                                           s/Nora Beth Dorsey
                                                           Nora Beth Dorsey
                                                           Chief Special Master




4This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all
charges by the attorney against a client, “advanced costs” as well as fees for legal services rendered.
Furthermore, § 15(e)(3) prevents an attorney from charging or collecting fees (including costs) that would
be in addition to the amount awarded herein. See generally Beck v. Sec’y of Health & Human Servs.,
924 F.2d 1029 (Fed. Cir.1991).

5 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                      2
